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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Civ. No. 13-3003 (WMW/DTS)

 United States of America,
 ex rel. Kipp Fesenmaier,
                                                             PLAINTIFF
                Plaintiffs,                         UNITED STATES OF AMERICA’S
                                                    RESPONSE IN OPPOSITION TO
       v.                                             DEFENDANTS’ MOTION TO
                                                    DISMISS, TO DISQUALIFY, AND
 The Cameron-Ehlen Group, Inc.,                        TO WALL OFF TAINTED
 DBA Precision Lens, and Paul Ehlen,                          SOURCES

                Defendants.



                                     INTRODUCTION

       After failing to obtain dismissal of the United States’ Complaint-in-Intervention on

its merits, Defendants now ask this Court for dismissal based on lawful recordings made

during the United States’ parallel criminal and civil investigations. The United States is

authorized by law to record investigative communications before initiating enforcement

proceedings. It executed its obligations under the law, the Minnesota Rules of Professional

Conduct (“MRPC”), and Department of Justice policy throughout its investigation. Every

recording at issue in Defendants’ motion was made before the United States commenced

civil or criminal enforcement proceedings. The United States intervened in this case in

August 2017—seven months after the last recording.

       Even assuming otherwise, Defendants allege no harm. The civil litigation team did

not even obtain the recordings until discovery in this case, and did not use them to prepare

the United States’ Complaint-In-Intervention.
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      Without factual support, Defendants suggest that the government delayed its

decision to intervene in order to make recordings. Contrary to controlling authority,

Defendants argue that the conduct of government counsel violated MRPC 4.2. Absent

showing any prejudice resulting from the purported violation of MRPC 4.2, Defendants

seek again to have the case dismissed.

      The Defendants ask this Court to do something no court has ever done—dismiss a

case based on lawful recordings made by a law enforcement source during a federal

government investigation. Such an unprecedented outcome would not only be directly

contrary to MRPC 4.2 and controlling authority, it would impede the United States’

statutory duty to fully investigate before bringing enforcement proceedings. The United

States respectfully requests that the Court deny Defendants’ motion.




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                                     BACKGROUND

    A. The Federal Bureau of Investigation (“FBI”) Opens an Investigation into
       Precision Lens and Paul Ehlen.

       Precision Lens distributes intraocular lenses (“IOLs”) and other products related to

ophthalmic surgeries, including cataract surgeries billed to Medicare. Complaint-in-

Intervention (“Compl.”), ECF No. 105, ¶ 11. Sightpath provides mobile surgery services

for ophthalmic surgeons. Id. ¶ 43. Sightpath and Precision Lens were corporate partners,

with Precision Lens acting as both supplier and sales representative for Sightpath. Id. ¶¶ 48-

50. Paul Ehlen is the founder and majority owner of Precision Lens. Id. ¶ 12.

       In 2010, Relator Kipp Fesenmaier1 contacted the FBI, alleging that Precision Lens

and Sightpath worked together to secure business from various ophthalmologists by

providing kickbacks in the form of trips, meals, and other items of value. See Decl. of

Alethea Huyser (“Huyser Decl.”), Ex. 1, ECF No. 294-1. Special Agent Mary Jo Herrett

(“Special Agent Herrett”) became the lead FBI investigator regarding the matter in late

2011. Decl. of FBI Special Agent Herrett (“Herrett Decl.”) ¶ 3.

       In approximately January 2012, Fesenmaier agreed to assist the FBI as a

confidential human source (“CHS”) during the investigation. Id. ¶ 4. Fesenmaier agreed to

record his conversations with individuals who may have knowledge relevant to the

investigation. Id. The FBI is authorized by law to consensually monitor and record a CHS’s




1
  Fesenmaier is a former Sightpath executive. Decl. of Bahram Samie (“Samie Decl.”), Ex.
2, Fesenmaier Dep. at 20:24-21:17.

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conversations. See Samie Decl., Ex. 6, The Attorney General’s Guidelines for Domestic

FBI Operations (2008), § (V)(A)(4).2

        Fesenmaier made his first FBI recording on January 18, 2012. See Huyser Decl.,

Ex. 10, ECF No. 296-6, Recording Log. Over the course of the investigation, Fesenmaier

recorded 44 conversations. Id.3 Fesenmaier made his last recording on January 16, 2017.

Id.

        Special Agent Herrett did not script Fesenmaier’s recorded conversations.

Herrett Decl. ¶ 8. On May 11, 2012, and numerous times thereafter, the FBI provided

Fesenmaier instructions it refers to as “admonishments.” Id. ¶ 6. These admonishments

expressly directed Fesenmaier that he must not interfere with any attorney-client

relationship. Id.

      B. The USAO Opens Criminal File.

        In October 2010, the USAO opened a criminal file related to the investigation. Decl.

of David Genrich (“Genrich Decl.”) ¶ 6. AUSA David Genrich was Herrett’s criminal

division point of contact at the USAO regarding the investigation until spring of 2015,




2
   See also Domestic Investigations and Operations Guide § 18.6.1, available at
https://vault.fbi.gov/FBI%20Domestic%20Investigations%20and%20Operations%20Gui
de%20%28DIOG%29/fbi-domestic-investigations-and-operations-guide-diog-2011-
version/fbi-domestic-investigations-and-operations-guide-diog-october-15-2011/view
3
  Defendants’ representation that there are 144 recordings is inaccurate. See Defs. Mem.,
ECF No. 290 at 14. First, ECF No. 296-6 contains 147 entries. Second, no conversations
take place for a majority of the recordings. See ECF No. 296-6 (of 147 entries, 103 entries
are described as: “test session,” “No Convo,” “no answer,” “voicemail,” “no msg left,” “no
message left,” “msg left,” “left msg” or “No recording with others”).

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when the criminal file was transferred to AUSA John Kokkinen. Herrett Decl. ¶ 10;

Genrich Decl. ¶ 14; Decl. of John Kokkinen (“Kokkinen Decl.”) ¶ 3.

   C. Precision Lens Retains Counsel after February 2013 Interviews.

       In February 2013, the FBI interviewed various individuals, including current and

former Sightpath and Precision Lens employees, as part of the investigation. See Huyser

Decl., Ex. 2, ECF No. 296, U.S. Supp. Priv. Log dated July 3, 2019, at 6-7.

       Shortly thereafter, attorney Thomas Beimers contacted Special Agent Herrett and

AUSA Genrich to advise that he had been retained to represent Precision Lens. Decl. of

Thomas Beimers (“Beimers Decl.”), ECF No. 293, ¶¶ 5-6. Although Beimers asserted he

was counsel for the company, he asked that interviews with all Precision Lens employee

be coordinated through him. Id.; Huyser Decl., Ex. 6, ECF No. 296-4. Beimers does not

aver that AUSA Genrich assented to his request. Id. AUSA Genrich did not so agree.

Genrich Decl. ¶ 9.

       By this time, Fesenmaier had already recorded 22 of the 44 conversations at issue.

See Huyser Decl., Ex. 10, ECF No. 296-6.

   D. The USAO Opens Parallel Civil Investigation and Relator Files Qui Tam.

       In September 2013, Fesenmaier’s counsel notified the USAO of a coming qui tam

suit. Huyser Decl., Ex. 4., ECF No. 296-2, Plaintiffs’ Supp. Priv. Log, dated April 16, 2019,

at 1. The USAO opened a civil file on September 26, 2013, assigned to AUSA Chad




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Blumenfield. Decl. of Chad Blumenfield (“Blumenfield Decl.”) ¶ 3. 4 The USAO then

conducted parallel civil and criminal investigations, with AUSAs in both divisions assigned

to the matter. Samie Decl., Ex. 7; Blumenfield Decl. ¶¶ 3, 8.

       On November 1, 2013, Fesenmaier filed a qui tam Complaint under seal, alleging

misconduct by Precision Lens, Paul Ehlen, Sightpath, and others.5 ECF No. 1, Rel. Compl.

By this time, Fesenmaier had already recorded 28 of the 44 conversations. See ECF No.

Huyser Decl., Ex. 10, ECF No. 296-6.6

    E. Post-Qui Tam Recordings.

       In early 2014, Peter Gosz, a Precision Lens employee and minority owner, contacted

Fesenmaier regarding a job opportunity with Precision Lens. Samie Decl., Ex. 1, Gosz Dep.

104:5-15. Fesenmaier recorded a conversation with Gosz on February 3, 2014. See ECF

No. 296-6.

       On March 3, 2014, the USAO consulted with the Department of Justice’s

Professional Responsibility Advisory Office (“PRAO”) regarding the investigation.

Genrich Decl. ¶ 12.7




4
  AUSA Blumenfield attended a meeting with Special Agent Herrett and AUSA Genrich
in late 2012, but a civil file was not opened, and he did not become materially involved in
the investigation until later. Blumenfield Decl. ¶¶ 3-4.
5
  Under the FCA, the United States has 60 days to make an intervention decision with
respect to a qui tam complaint, unless it obtains extensions for good cause to extend the
seal. 31 U.S.C. § 3730(b)(2).
6
  At this point, Fesenmaier had not made a recording in nearly six months, nor would he
for another three months. Id.
7
  The United States asserts that the communication is protected by the attorney client
privilege and work-product doctrine.

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       Fesenmaier recorded seven conversations with Ehlen in 2014. Huyser Decl., Ex. 10,

ECF No. 296-6. Defendants highlight a short segment of a longer conversation occurring

on June 5, 2014. Defs.’ Mem., ECF No. 290, at 9-10; Huyser Decl., Ex. 12, ECF No. 294-

4. In the June 5, 2014 recording, after over one hour discussing Fesenmaier’s potential

employment with Precision Lens, Fesenmaier inquired about whether the company was

still under investigation. Huyser Decl., Ex. 12, ECF No. 294-4 at 3.8 Fesenmaier did not

ask Ehlen about Precision Lens’ attorney, attorney-client relationship, or anything related

to legal strategy. Id. Instead, Ehlen volunteered information and briefly discussed Precision

Lens’ lawyer, noting only that Precision Lens hired a lawyer who gathered and reviewed

records, conducted interviews, presented his findings to the FBI, and advised Precision

Lens that it was “squeaky clean.” Id. Defendants’ memorandum of law does not discuss

the substance of any other recording in 2014. See, generally, ECF No. 290.

       Fesenmaier recorded Ehlen one time in 2015, on July 30, 2015, and never recorded

him again. See ECF No. 296-6. By July 30, 2015, Fesenmaier had recorded 43 of the 44

conversations referenced above. See id. Fesenmaier recorded no conversations in 2016 and

one in 2017. Id.

       As noted above, 22 of the 44 recorded conversations occurred before Defendants

retained counsel. Huyser Decl., Ex. 10, ECF No. 296-6. An additional six occurred before

the qui tam was filed.9 Id. That leaves 16 recordings that occurred after Fesenmaier filed


8
  The transcript of the recording shows that Fesenmaier asked to speak privately with Ehlen
in the event that another present Precision Lens employee was unaware of the
government’s inquiry. Id.
9
  It is unclear whether Defendants take issue with the six recorded conversations between

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his complaint, but before the United States intervened. Id. Of these 16 recordings, three did

not involve a Precision Lens employee, but rather an independent contractor.10 See, id. As

a result, the 13 conversations set forth below are at issue in Defendants’ motion:

               Date                Recorded Individuals        Duration
               2/3/2014            Gosz                        45 sec
               2/3/2014            Gosz                        22 min, 10 sec
               3/18/2014           Ehlen                       12 min, 7 sec
               3/20/2014           Ehlen & Norling             97 min, 36 sec
               5/23/2014           Ehlen                       1 min
               5/25/2014           Ehlen                       16 min, 48 sec
               6/3/2014            Ehlen                       11 min, 43 sec
               6/5/2014            Norling                     2 min, 58 sec
               6/5/2014            Ehlen                       77 min, 36 sec
               11/5/2014           Ehlen                       10 min, 23 sec
               12/2/2014           Ehlen                       6 min, 8 sec
               7/30/2015           Ehlen                       5 min, 39 sec
               1/16/2017           Gosz                        35 min, 46 sec

   F. Document Subpoenas and Extension Requests.

       In September 2014, AUSA Genrich served an administrative subpoena on Sightpath,

copying AUSA Blumenfield, and noting the existence of the parallel criminal and civil

investigation to Sightpath’s Attorney. Samie Decl., Ex. 7. In October 2014, AUSA

Blumenfield served a subpoena on Precision Lens, copying AUSA Genrich, and noting the

existence of the parallel investigation to Beimers. Blumenfield Decl. ¶ 8.




the time Beimers identified himself as counsel for the company and the filing of the qui
tam. Defendants make a passing suggestion that such recordings “might” also violate
Rule 4.2. See Defs.’ Mem., ECF No. 290 at 26. As discussed below, any such suggestion is
incorrect.
10
   In the case of a represented organization, MRPC 4.2 applies only to contacts with certain
“constituent[s]” of the organization. MRPC 4.2 cmt. [7]. Independent contractors are not
listed within the definition of “constituent.” MRPC 1.13 cmt. [1].

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       The USAO worked with attorneys for the two corporate defendants to obtain

voluminous responsive documents and spent considerable time reviewing them.

Blumenfield Decl. ¶ 9; Genrich Decl. ¶ 13. These documents included, but were not

limited to, e-mails, financial statements, expense reports, credit card statements and

invoices. Blumenfield Decl. ¶ 9. The USAO’s review of these documents resulted in the

identification of over three hundred separate transactions involving items of value paid to

surgeons. Id. Between December 2014 and March 2016, Precision Lens produced over

149,000 pages of documents, and Sightpath produced over 210,000 pages. Id.

       In April 2015, Fesenmaier amended his Complaint to add additional defendants,

bringing the total number to 19. See ECF No. 20, Rel. Am. Compl. The Amended

Complaint added physicians alleged to have received kickbacks from Sightpath and/or

Precision Lens. Id.

       The United States sought extensions of the seal over the course of the qui tam to

discharge its statutory duty under 31 U.S.C. § 3730 to investigate and make informed

intervention decisions with respect to all the defendants. Blumenfield Decl. ¶ 9. In its

extension requests, the United States advised the court of the subpoenas and corresponding

document productions, witness interviews, and Fesenmaier’s Amended Complaint. See,

e.g., ECF Nos. 7-8, 11-12, 15-16, 21-22, 27-28, and 32-33.

   G. Grand Jury Subpoenas and Consensual Interviews.

       In the fall of 2015, AUSA Kokkinen sought a consensual interview with a senior

Precision Lens official, Christopher Reichert. Kokkinen Decl. ¶ 5. Reichert’s attorney

declined to have Reichert sit for an interview. Id. In February 2016, based on the prior


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unproductive effort to obtain consensual information from Reichert, multiple witnesses

received grand jury subpoenas to provide testimony in furtherance of the criminal

investigation. Id. 11 Although the USAO operated a parallel investigation, AUSA

Blumenfield was not involved in the decision to issue grand jury subpoenas and was not

part of the grand jury investigation. Blumenfield Decl. ¶ 12; Kokkinen Decl. ¶ 7.

        Precision Lens arranged for attorney Andy Birrell to represent its subpoenaed

employees. Beimers Decl., ECF No. 293, ¶ 14. Birrell and his clients agreed to participate

in voluntary interviews with prosecutors, and the grand jury subpoenas were ultimately

withdrawn. Kokkinen Decl. ¶ 6. In light of the parallel civil investigation, AUSA

Blumenfield participated in four voluntary witness interviews, including three interviews

of Precision Lens employees, in April 2016. Kokkinen Decl. ¶ 6; Blumenfield Decl. ¶ 11.

Neither Defendants nor any of the separately represented employees ever objected to

AUSA Blumenfield’s participation in the April 2016 interviews. Kokkinen Decl. ¶ 6;

Blumenfield Decl. ¶ 11.

     H. 2016-2017 Settlement Negotiations.

        By September 2016, the United States had largely completed its investigation of

Relator’s Amended Complaint. Blumenfield Decl. ¶ 14. It advised the Court in a September

27, 2016 filing:




11
    Defendants’ assertion that the government served Precision Lens grand jury subpoenas
is incorrect. The subpoenas were issued to individuals, and served at their homes. Kokkinen
Decl. ¶ 5.

                                            10
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       The United States has nearly finalized its intervention decision. In the prior
       extension period, the United States made significant progress towards
       settlement with some of the potential defendants. Those defendants advised
       the United States that a public notification of intervention would jeopardize
       the ongoing settlement discussions. The United States believes that a short
       additional extension of the seal period will be sufficient to evaluate those
       settlement prospects and finalize its intervention decision with respect to all
       potential defendants. The United States is also planning at least one
       additional witness interview, along with the receipt and review of additional
       documents, during the next extension period.

ECF No. 38 at 3.

       The United States similarly notified the Court in its next four extension requests.

See ECF Nos. 42, 46, 51, & 59. The United States also advised Defendants’ counsel of the

same, even explaining that it was taking a long time to resolve the other allegations and

initiate its case against Defendants. Blumenfield Decl. ¶ 15.

       Ultimately, in August 2017, Sightpath and its CEO agreed to resolve the allegations

of False Claims Act (“FCA”) violations for approximately $12 million. 12 Blumenfield

Decl. ¶ 13. In February 2018, Dr. Jitendra Swarup agreed to settle for approximately $2.9

million. Blumenfield Decl. ¶ 13. The United States declined to intervene against the other

named defendants, leaving Precision Lens and Ehlen See ECF No. 63. The extensions—

and corresponding settlements—resulted in a considerably more streamlined case. See

Compl., ECF No. 105.




12
   Sightpath and its CEO resolved allegations that they provided trips and entertainment to
physicians to induce them to use its products and services in connection with eye surgeries
paid for by Medicare. Blumenfield Decl. ¶ 13. Swarup resolved allegations that he received
inducements. Id.

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   I. Final Recording in January 2017.

      Precision Lens terminated Gosz’s employment in late 2016. Samie Decl., Ex. 1,

Gosz Dep. 99:13-100:1. Although Gosz continued to have a 5% ownership interest in

Precision Lens, he was not able to act on behalf of Precision Lens. Id. at 12:10-18. He did

not attend any board meetings, and did not communicate with, let alone oversee, Precision

Lens’ attorneys. Id. at 14:18-15:10. Indeed, Gosz and another former employee sued

Precision Lens and Ehlen and were in active litigation against Defendants from October 5,

2016, until October 26, 2017. See, generally, Christopher Reichert, Peter Gosz v. Paul

Ehlen, The Cameron-Ehlen Group Inc., d/b/ Precision Lens, Precision Lens, Case No. 27-

CV-16-14692, Hennepin County District Court.

      In January 2017, Gosz reached out to Fesenmaier through LinkedIn about a job

opportunity. Samie Decl., Ex. 2, Fesenmaier Dep. at 282. Fesenmaier called Gosz and

recorded a conversation on January 16, 2017. See Huyser Decl., Ex. 10, ECF No. 296-6.

Fesenmaier did not make another recording in this matter. Id.

   J. Civil Litigation Team Access to Recordings.

      The USAO Civil Division did not receive the recordings from the FBI, listen to their

contents, or produce them to Relator’s counsel during the investigation. Blumenfield Decl.

¶ 16; Herrett Decl. ¶ 13. The USAO first received the recordings in the fall of 2018 in

preparation for discovery. See Blumenfield Decl. ¶ 18; Herrett Decl. ¶ 13. The recordings

were not used in the United States’ intervention decision or the Complaint-in-Intervention.

Blumenfield Decl. ¶ 20.




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        Defendants state without any factual basis that the USAO sought extensions from

the Court in order to continue recordings. See ECF No. 290 at 7-8. In 2016 and 2017, the

USAO sought seven extensions, and Fesenmaier recorded only one conversation. Compare

Huyser Decl., Ex. 10, ECF 296-6 with ECF Nos. 27, 32, 37, 41, 45, 50, 58. 13 The

extensions were not sought to make recordings. Blumenfield Decl. ¶ 13.

     K. Intervention & Disclosure of Recordings.

        On August 14, 2017, seven months after the final recording, the United States

notified the Court of its election to intervene in the action against Precision Lens and Ehlen.

ECF No. 63. The United States filed its Complaint-in-Intervention on February 8, 2018.

ECF No. 105.

        While Defendants’ first motion to dismiss was still pending before this Court, the

United States agreed to begin discovery and the parties held their initial pretrial conference

on October 10, 2018. See ECF No. 150. Before producing any recordings to Defendants,

the United States allowed Relator’s counsel to conduct a privilege review. Blumenfield

Decl. ¶ 21. The United States disclosed the existence of the recordings to Defendants by

cataloging them as “audio recordings of discussions with witnesses, primarily in

connection with the criminal investigation” in its privilege log dated November 13, 2018.

Blumenfield Decl. ¶ 22. The parties entered into a claw-back agreement on March 5, 2019,



13
   Defendants also inaccurately characterize Special Agent Herrett’s earlier declaration to
imply that AUSA Blumenfield was involved in 2014 consensual recordings. Defs.’ Mem.
at 10 (citing ECF No. 182). In that declaration, Herrett referred to in-person witness
interviews conducted by agents and AUSAs, not audio recordings created by Fesenmaier.
Herrett Decl. ¶ 14.

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and the United States produced the recordings to Defendants on March 7, 2019.

Blumenfield Decl. ¶ 24.14

       After production, Relator clawed back one recording that contained material

covered by the spousal privilege. See Huyser Decl., Ex. 10, ECF No. 296-6 at 2. The United

States did not withhold or claw back any part of the recordings. Blumenfield Decl. ¶ 24.

Defendants have not clawed back any material on any of the recordings, and have made no

privilege assertions with respect to contents of any of the recordings. Id.

       After production, Defendants requested an index of the recordings, and the United

States advised Defendants and the Court that no such index existed. Blumenfield Decl.

¶ 25. Magistrate Judge Schultz ordered the United States to create an index and produce it

to Defendants. ECF No. 239 at 2. As a result, the FBI created an index that the United

States produced to Defendants. Blumenfield Decl. ¶ 25. At that time, there were still five

months remaining in discovery and no depositions had occurred. Blumenfield Decl. ¶ 24.




14
   The United States was unable to advance any discovery, including production of the
recordings, during a five-week lapse in appropriations. Blumenfield Decl. ¶ 23.

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                                      ARGUMENT

       All of the contacts Defendants challenge occurred during federal criminal and civil

investigations, before an indictment, and before the United States intervened in this FCA

case. The United States commenced civil enforcement proceedings when it intervened

nearly seven months after the last recording, and has never commenced criminal

enforcement proceedings. As a result, the challenged contacts are authorized by law under

MRPC 4.2, and there is no basis to conclude that the government engaged in any

professional misconduct. Even if the Court were to find a violation of MRPC 4.2, which it

should not, dismissal, disqualification, suppression, or recusal are not appropriate

remedies.

       MRPC 4.2 expressly permits government lawyers and law enforcement agents to

contact represented persons before the commencement of enforcement proceedings.

Precedent from the Eighth Circuit reinforces the plain language of the Rule. See, e.g.,

United States v. Fitterer, 710 F.2d 1328, 1333 (8th Cir. 1983). Other courts have concluded

that the government’s contacts before intervening in an FCA action are ethically

permissible under Rule 4.2. See In re Amgen Inc., No. 10-MC-0249 SLT JO, 2011 WL

2442047, at *18 (E.D.N.Y. Apr. 6, 2011), R&R adopted, No. 10-MC-249 SLT JO, 2011

WL 2418815 (E.D.N.Y. June 14, 2011); United States v. Joseph Binder Schweitzer Emblem

Co., 167 F. Supp. 2d 862, 865-66 (E.D.N.C. 2001).

       The government acted lawfully at all times. Defendants present no viable basis to

find a 4.2 violation, let alone anything warranting the extraordinary relief they request.




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     A. MRPC 4.2 Was Amended in 2005 to add Comment [5] Regarding Law
        Enforcement Contacts that are Authorized by Law.

       In 2005, the Minnesota Supreme Court adopted the most extensive amendments in

the history of the MRPC. See New Directions in Professional Conduct: The Devil Is In The

Details, Kenneth L. Jorgensen, & William J. Wernz, Bench & Bar of Minnesota, 62-Sep

Bench & B. Minn. 14, *1 (2005). That change resulted in the current version of MRPC 4.2

governing this motion. The rule states:

       In representing a client, a lawyer shall not communicate about the subject of
       the representation with a person the lawyer knows to be represented by
       another lawyer in the matter, unless the lawyer has the consent of the other
       lawyer or is authorized to do so by law or a court order.

MRPC 4.2. (2005) (emphasis added).

       Importantly, the 2005 amendments added significantly more explanatory comments

to Rule 4.2, including Comment [5], which describes communications authorized by law.

Comment [5] states:

       Communications authorized by law may include communications by a
       lawyer on behalf of a client who is exercising a constitutional or other legal
       right to communicate with the government. Communications authorized by
       law may also include investigative activities of lawyers representing
       governmental entities, directly or through investigative agents, prior to the
       commencement of criminal or civil enforcement proceedings. When
       communicating with the accused in a criminal matter, a government lawyer
       must comply with this rule in addition to honoring the constitutional rights
       of the accused. The fact that a communication does not violate a state or
       federal constitutional right is insufficient to establish that the communication
       is permissible under this rule.

MRPC 4.2 cmt. [5] (emphasis added).15


15
   The comments to the MRPC have served as useful guidance throughout the history of
the rules, and became even more important after they were expanded in 2005. See e.g.,

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       The 2005 amendments were based on the American Bar Association’s Model Rules

of Professional Conduct. New Directions in Professional Conduct, 62-Sep Bench & B.

Minn. at *15. A decade earlier, in 1995, the ABA broadened Model Rule of Professional

Conduct 4.2 to apply to communications with a represented “person,” rather than a “party”.

Samie Decl., Ex. 3, A Legislative History, The Development of the ABA Model Rules of

Professional Conduct 1982-2013, Garwin. A. ed., American Bar Association (2013), pp.

558-559. At the same time, it clarified the Rule’s applicability to government investigations

in an amended comment that is the genesis of current Comment [5]. Id. It did so “to

acknowledge the case law that has limited the application of the ‘anti-contact’ prohibition

in the context of pre-indictment, non-custodial contacts, principally by ‘undercover’

investigative agents….” Id.at 559. See also Samie Decl., Ex. 4, The Law of Lawyering,

Hazard, G., Hodes. W, § 38.9, 2011 Supp., p. 38-20 (“The new [ABA] Comments [in 1995]

acknowledged that much pre-indictment investigative work by government lawyers

involves ‘communication’ with suspects, and, that, to the extent these exchanges are

constitutionally permissible, they are ‘authorized by law.’”).

       With the adoption of the 2005 amendment, Minnesota’s Rule 4.2, like the ABA’s

Model Rules, explicitly addresses its limits with respect to government investigations, and

provides temporal guidance on when the authorized by law exception applies to


State v. Clark, 738 N.W.2d 316, 340 (Minn. 2007) (consulting Rule 4.2 Comment [5]);
Samie Decl., Ex. 5, Wernz, W., Minnesota Legal Ethics, A Treatise, v. II, p. 205 (2018)
(“The comments to Rule 4.2 are exceptionally important. The comments became more
detailed and important after amendments in 2002 (Model Rules) and 2005 (Minnesota)”).



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government investigative activities – “prior to the commencement of criminal or civil

enforcement proceedings.” (emphasis added). MRPC 4.2 cmt. [5] (emphasis added).

     B. The Contacts Occurred Before Commencement of Enforcement Proceedings
        and Were Authorized by Law.16

       1. Circuit Precedent Authorizes Pre-Enforcement Investigative Communications.

       The Eighth Circuit has long recognized that the government’s pre-enforcement

investigative communications are ethically permissible. See, e.g., United States v. Plumley,

207 F.3d 1086, 1094-95 (8th Cir. 2000); Fitterer, 710 F.2d at 1333; United States v. Dobbs,

711 F.2d 84, 85-86 (8th Cir. 1983); see also United States v. Voigt, Case No. 13-CR-0035(2)

(PJS/SER), 2015 WL 9581740, at *1-2 (D. Minn. Dec. 30, 2015).17


16
   As a threshold matter, Rule 4.2 prohibits communications “about the subject of the
representation.” Defendants skip this element of Rule 4.2. In their facts section, Defendants
discuss an excerpt of the June 5, 2014 recording that they appear to suggest (although do
not argue) satisfies this element of the Rule. Even if their suggestion satisfies their burden
as to that contact, Defendants have not done so for the 12 other post-qui tam recordings at
issue, none of which they have put into the record on their motion. If the Court wishes to
review the recordings as part of its consideration of Defendants’ motion, the United States
will file them under seal at the Court’s request.
17
   Other federal and state courts have reached the same conclusion. See, e.g., United States
v. Elliott, 684 F. App’x 685, 693-95 (10th Cir. 2017); United States v. Binday, 804 F.3d
558, 592-95 (2d Cir. 2015); United States v. Carona, 660 F.3d 360, 364-66 (9th Cir. 2011);
United States v. Mullins, 613 F.3d 1273, 1288-90 (10th Cir. 2010); United States v. Brown,
595 F.3d 498, 514-16 (3d Cir. 2010); United States v. Cope, 312 F.3d 757, 773-74 (6th Cir.
2002); United States v. Johnson, 68 F.3d 899, 902 (5th Cir. 1995); United States v.
Worthington, No. 89-5417, 911 F.2d 726, 1990 WL 116618, at *3-4 (4th Cir. 1990) (Table);
United States v. Sutton, 801 F.2d 1346, 1366 (D.C. Cir. 1986); United States v. Tableman,
No. CRIM. 99-22-B, 1999 WL 1995192, at *2 (D. Me. Sept. 3, 1999); In re Disciplinary
Proceedings re Doe, 876 F. Supp. 265, 267-69 (M.D. Fla. 1993); United States v. Infelise,
773 F. Supp. 93, 94-96 (N.D. Ill. 1991); State v. Reavley, 79 P.3d 270, 279-80 (Mont. 2003);
State v. Bisaccia, 724 A.2d 836, 847 (N.J. Super. Ct. App. Div. 1999); State v. Lang, 702
A.2d 135, 137 (Vt. 1997); State v. Smart, 622 A.2d 1197, 1213-14 (N.H. 1993); State v.
Mosher, 755 S.W.2d 464, 467-69 (Tenn. Crim. App. 1988); State v. Irving, 644 P.2d 389,
393-94 (Kan. 1982).

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        In Fitterer, the Eighth Circuit found no ethical violation on the part of prosecutors

who wired an accomplice to record a conversation with a defendant after the defendant

retained counsel. 710 F.2d at 1333.18 The Court denied the defendant’s motion to suppress,

observing that “[a]t the time of the conversation with Sterry [the accomplice], Fitterer had

not been indicted nor formally charged in any other way.” Id. The Court noted the

unintended and negative impacts of an alternative outcome:

          Under [defendant’s] view, once the subject of an investigation retains
          counsel, investigators could no longer direct informants to gather more
          evidence. We do not believe that DR 7–104(A)(1) of the Code of
          Professional Responsibility was intended to stymie undercover
          investigations when the subject retains counsel. Our view is shared by all
          three circuits which have considered the effect of DR 7–104(A)(1) in
          situations like Fitterer’s.

Id. at 1333.

       Likewise, in Plumley, the Eighth Circuit affirmed the district court’s decision to

admit testimony from a cooperating witness obtained from a represented defendant before

indictment. The court noted that it had previously held that Minnesota’s rule “does not

require government investigatory agencies to refrain from any contact with a criminal

suspect because he or she previously had retained counsel.” 207 F.3d at 1094-95 (citing

United States v. Dobbs, 711 F.2d at 86. See also United States v. Ingle, 157 F.3d 1147, 1151

(8th Cir. 1998) (recognizing, in the context of the Sixth Amendment, that “formal


18
   The case analyzed Minnesota Disciplinary Rule 7-104(A)(1), a precursor to MRPC 4.2.
Fitterer, 710 F.2d at 1333. The Rule, in pertinent part, stated a lawyer shall not
“Communicate or cause another to communicate on the subject of the representation with
a party he knows to be represented by a lawyer in that matter unless he has the prior consent
of the lawyer representing such other party or is authorized by law to do so.” Id.


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investigative actions [do not] preclude government investigators from thereafter using

informants and undercover agents to elicit incriminating admissions from [a] suspect”).

       The Eighth Circuit is in accord with every other circuit that has addressed the

applicability of the authorized by law exception. The Third Circuit observed that virtually

every federal appellate court to address the issue had held that Rule 4.2 does not prohibit

pre-enforcement investigative contacts. United States v. Balter, 91 F.3d 427, 436 (3d Cir.

1996) (citing, inter alia, Dobbs, 711 F.2d 84 (8th Cir. 1983)).19 Balter noted that “pre-

indictment investigation by prosecutors is precisely the type of contact exempted from

[Rule 4.2] as ‘authorized by law[,]’” and that a contrary approach would “significantly

hamper legitimate law enforcement operations.” Id. at 436. See also Binday, 804 F.3d at

592-93 (covert pre-proceeding investigative communications fall within the authorized by

law exception to Rule 4.2); United States v. Brown, 393 F.3d 498, 514-16 (3d Cir. 2010)

(same).




19
   Balter identified United States v. Hammad, 858 F.2d 834 (2d Cir. 1988), as an outlier.
91 F.3d at 436. In Hammad, the Second Circuit held that ABA DR 7-104(A)(1) applied to
the government’s pre-indictment conduct, and that a prosecutor’s pretextual issuance of a
grand jury subpoena violated the rule. Hammad. 858 F.2d at 839. The Second Circuit noted,
however, that “a prosecutor is “authorized by law” to employ legitimate investigative
techniques in conducting or supervising criminal investigations, and the use of informants
to gather evidence against a suspect will frequently fall within the ambit of such
authorization.” Id. Accordingly, Hammad is understood as a cautionary opinion about
particular tactics, and not as a wholesale condemnation of pre-enforcement investigative
contacts. See, e.g., United States v. Devillio, 983 F.2d 1185, 1192 (2d Cir. 1993); United
States v. Rahman, No. S3 93 Cr. 181 (MBM), 1994 WL 388918 at *7 (S.D.N.Y. Jul. 22,
1994).


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      The Tenth Circuit recently noted that academic commentary supports the

importance of the government’s ability to pursue pre-enforcement investigative

communications. Elliott, 684 F. App’x at 693–95 (citations omitted). For instance,

Professor Pamela Karlan has observed:

      [r]ead literally, the no-contact rule could quite obviously impede the
      investigation of complex crime. A potential defendant could retain an
      attorney, announce to federal and state prosecutors that he was represented
      by counsel with regard to all matters, and thereby prevent all governmental
      operatives (including informants and undercover agents) from eliciting
      statements from him. Moreover, corporations and other formal entities would
      be able to use their regular counsel to monitor and thus perhaps deter
      subordinate employees’ contacts and cooperation with investigators. Such
      preclusion would be rendered particularly effective by a singular aspect of
      the no[ ]-contact rule: the lawyer, not the client, must consent to the direct
      contact. Thus, control over waiver would rest, at least in the first instance, in
      the enterprise counsel, because investigators would often be unable to
      determine whether an individual whom they wished to contact was actually
      a client of an attorney who announced that “his client” did not wish to be
      contacted directly.

      A broad interpretation of the no-contact rule would provide a powerful
      incentive for criminal actors to seek relational representation because having
      an ongoing relationship with an attorney could insulate them from several of
      the most effective law enforcement techniques for investigating complex
      crime.

Pamela S. Karlan, Discrete and Relational Criminal Representation: The Changing Vision

of the Right to Counsel, 105 Harv. L. Rev. 670, 701 (1992) (footnotes omitted). See also

Geoffrey C. Hazard, Jr. & Dana Remus Irwin, Toward a Revised 4.2 No-Contact Rule, 60

Hastings L.J. 797, 811 (2009) (“[E]ffective law enforcement could be severely hampered

by strict application of Rule 4.2.”); 2 Restatement (Third) of the Law Governing Lawyers

§ 99 cmt. h (2000). Consistent with this commentary, the Tenth Circuit concluded that the

“authorized by law” exception allowed the government to use an undercover informant


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before indictment to elicit incriminating admissions from a defendant. Elliott, 685 Fed.

App’x at 695.

       2. Rule 4.2’s Authorized by Law Exception Applies Equally in a Civil
          Investigation.

       MRPC 4.2’s authorized by law exception expressly permits contacts “prior to the

commencement of criminal or civil enforcement proceedings.” See MRPC 4.2, cmt. [5]

(emphasis added).20

       Numerous courts have specifically held that the authorized by law exception applies

to civil investigations. For example, in United States v. Western Elec. Co., Inc., the court

concluded that, because “[t]he Department of Justice is obligated by law to prosecute

violations of various criminal and civil statutes,” and because the violation of a civil

consent decree in the case could give rise to sanctions for civil and criminal contempt,

Department attorneys were “authorized by law” to engage in overt communications with

certain former employees of a represented organization to ensure compliance with the


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   In conjunction with the statutory obligation to diligently investigate fraud against the
government, Department of Justice Policy has long encouraged parallel investigations and
the efficient use of investigative resources to benefit both civil and criminal enforcement.
Attorney      General’s      Memorandum          of    July   28,    1997,      available    at
https://www.justice.gov/archives/ag/ag-memo-coordinate-parallel-criminal-civil-
administraative (“[I]t is essential that our attorneys consider whether there are investigative
steps common to civil and criminal prosecutions, . . . [P]rosecutors should consult with the
government attorneys on the civil side and appropriate agency officials regarding the
investigative strategies to be used in their cases.”) (emphasis added). See also
Attorney General’s       Memorandum          of     January   30,    2012. Available         at
https://www.justice.gov/jm/organization-and-functions-manual-27-parallel-proceedings
(instructing DOJ attorneys to consider using “investigative strategies that maximize the
government’s ability to share information among criminal, civil, and agency administrative
teams to the fullest extent appropriate to the case and permissible by law”).


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decree. CIV. A. No. 82-0192, 1990 WL 39129, at *1 (D.D.C. Feb. 28, 1990) (“[A]bsent

egregious misconduct, law enforcement authorities may engage in pre-indictment, pre-

arrest, or investigative contacts with suspects known to be represented by counsel.”).

       Similarly, in United States v. Teeven, a case involving a joint civil and criminal

investigation, the court relied on criminal cases to support its conclusion that the proposed

overt, pre-proceeding, ex parte investigative communications by Department attorneys in

their civil investigation fell within the “authorized by law” exception to Rule 4.2. Civ. A.

No. 90-503 LON, 1990 WL 599373, at *2-4 (D. Del. Sept. 28, 1990).21

       More recently, in S.E.C. v. Lines, the court applied the “authorized by law”

exception to a civil enforcement investigation by the Securities and Exchange Commission.

See 669 F. Supp. 2d 460, 464-65 (S.D.N.Y. 2009) (“Comment 5 to Rule 4.2 acknowledges

that ‘investigative activities of lawyers representing governmental entities . . . prior to the

commencement of . . . civil enforcement proceedings’ may, in some instances, constitute



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   Although these cases analyzed earlier versions of Rule 4.2 and DR 7-104(A)(1) that
prohibited communication with a represented “party,” the courts’ decisions largely were
policy driven and continue to apply here. Specifically, the courts weighed the interest of a
represented person or organization in avoiding uncounseled communications with other
lawyers against the government’s interest in investigating alleged violations of federal law.
In doing so, they concluded that the government’s interest outweighed the interest of the
represented person or organization. See Western Elec., 1990 WL 39129, at *1 (“Acceptance
by the Court of the US West position that its present or former employees who might be
witnesses to the company’s criminal or civil violations must been deprived of counsel of
their own choice and be required to rely instead or in addition on the company’s counsel
would be an obvious prescription for frustrating investigations into wrongdoing.”); Teeven,
1990 WL 599373, at *4 (“At a time when so much has been mentioned with respect to the
Government’s obligation to regulate and control the expenditure of its revenue, the
Government’s interest in determining whether money is being misappropriated in this case
tips the balance in favor of allowing them to conduct their ex parte interviews.”).

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communications that are authorized by law; communications authorized by law are

exempted from Rule 4.2.”). See also, E.E.O.C. v. Autozone, Inc., CV-06-1767-PCT-PGR,

2008 WL 5245579, at *2 (D. Ariz. Dec. 17, 2008) (Rule 4.2’s authorized by law exception

exempted from Rule contacts by an EEOC investigator in a civil matter).

       Indeed, as the U.S. District Court for the District of Massachusetts observed in In re

Criminal Investigation of Doe, “[i]t would be something of an anomaly to provide greater

protection to persons who are represented in civil cases than those afforded to criminal

defendants.” Crim. No. 08-10215-RGS, 2008 WL 3274429, at *1 (D. Mass. Aug. 7, 2008).

       3. The Authorized by Law Exception Applies in an FCA Qui Tam Investigation
          Because Civil Enforcement Proceedings do not Commence until Intervention.

       The authorized by law exception from Rule 4.2 applies before the government’s

intervention in a qui tam case. See In re Amgen Inc., 2011 WL 2442047, at *4; Binder, 167

F. Supp. 2d at 865-66. The rationale allowing contacts prior to the initiation of criminal or

civil enforcement proceedings applies equally during the government’s investigation of a

qui tam complaint. The United States should not be prohibited from using otherwise

permissible investigative techniques to enforce federal law merely because an independent

private party has filed a qui tam complaint.

       After the relator files a complaint under seal, the FCA gives the United States time

to investigate the allegations and decide whether to intervene in the case. 31 U.S.C.

§ 3730(a), (b) (“The Attorney General diligently shall investigate a violation under section

3729.”). The filing of a qui tam does not initiate the government’s enforcement

proceedings. Rather, the filing of the qui tam complaint initiates the government’s



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investigation. See 31 U.S.C. § 3730(a), (b)(2). Upon completion of its investigation, the

Department of Justice elects either to intervene in the relator’s case, in which event the

action is “conducted by the Government,” or to decline to intervene, in which event the

relator has “the right to conduct the action.” Id. § 3730(b)(4). As a result, the government’s

enforcement proceedings do not commence unless and until the government intervenes.

See 31 U.S.C. § 3730(b)(4) (upon intervention, the government will “proceed with the

action, in which case the action shall be conducted by the Government.”). Indeed, the

government might not intervene and initiate any enforcement proceedings.

       This application of the authorized by law exception is consistent with the

government’s statutory duty to investigate an FCA complaint. 31 U.S.C. § 3730(a)

(requiring the United States to “diligently” investigate a relator’s claims).            “The

government has a statutory right, and indeed an obligation, that exists regardless of the

pendency of a sealed complaint, to conduct its own investigation.” In re Amgen Inc., 2011

WL 2442047, at *4. “The [FCA’s] sealing provision [] does no more than stay the relator’s

litigation while the government discharges its independent investigative duty, and provides

a mechanism for the government to extend the presumptive duration of that stay by

informing the court of the need to do so.” Id.

       As a result, a qui tam relator’s suit is not one “commenced by the United States.”

Fluor Hanford, Inc. v. United States, 66 Fed. Cl. 230, 233-34 (2005) (Major Fraud Act,

which applies to suits “commenced by the United States” does not apply to a qui tam action

where the government has not intervened because relator’s filing of a complaint does not

constitute filing of a complaint by the United States). See also United States ex rel. Williams


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v. Bell Helicopter Textron Inc., 417 F.3d 450, 454-56 (5th Cir. 2005) (district court abused

its discretion in dismissing qui tam complaint under Rule 9(b) with prejudice not only to

relator but also to the United States). Even though the relator files a qui tam suit on behalf

of the United States, the relator does not act for, and is not, the United States. See, e.g., Vt.

Agency of Nat. Resources v. United States ex rel. Stevens, 529 U.S. 765 (2000); Riley v. St.

Luke’s Episcopal Hosp., 252 F.3d 749, 755-756 (5th Cir. 2001) (the qui tam portions of the

FCA do not usurp Executive Branch power because the relator does not act as a government

employee; rather, the relator is simply a civil litigant).

       The interplay between the authorized by law exception and the government’s

statutory duty to investigate is highlighted in In re Amgen. 2011 WL 2442047. That case

involved a represented corporate defendant, Amgen, which was a named defendant in

multiple qui tam actions. Id. at *1-2. The government declined to intervene in one unsealed

case, but had not decided whether it would intervene in other sealed cases in which Amgen

was a defendant. Id. Amgen sought a protective order to preclude law enforcement agents

from contacting current Amgen employees without its corporate counsel’s consent, arguing

that the contacts violated New York’s Rule 4.2. Id. at *2.

       The court rejected Amgen’s motion, citing the United States Supreme Court’s

decision in United States ex rel. Eisenstein v. City of New York. 2011 WL 2442047 at *10

(citing, 556 U.S. 928, 933 (2009)). In Eisenstein, the Supreme Court unanimously held that

the United States does not become a party to a FCA suit until it intervenes. 556 U.S. at 933.

(“To hold otherwise would render the intervention provisions of the FCA superfluous, as

there would be no reason for the United States to intervene in an action in which it is already


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a party.”).

       The Amgen court reasoned: “Notwithstanding the fact that in such cases the United

States is the real party in interest as a result of the private relator’s unilateral decision to

file a complaint, the Supreme Court has explicitly held that the United States is not a

“party” to a private relator’s qui tam action unless and until it decides to intervene.”22

Amgen, 2011 WL 2442047 at *10 (citations omitted). It went on to conclude that the

challenged contacts are “authorized by law.” Id. at *14-18. In doing so, the court discussed

the authorized by law exception at length, relying on the ABA’s decision to amend the

ethical rule in 2002 to include the same temporal investigative language found in MRPC

4.2 comment [5]. Id.23

       In Binder, another FCA qui tam case, agents interviewed a current employee (the

customer service manager) when executing a search warrant. 167 F. Supp. 2d at 865-66. At

the time a qui tam had been filed, but the government had not intervened and no indictment

had been returned. Id. After the criminal case was filed, the company and its president filed

motions to suppress the employee’s statement and dismiss the indictment for violations of

Rule 4.2. Id. The Court denied the motion, holding that: “no rule of professional conduct

precludes pre-indictment contacts between the government and a represented party in a

non-custodial setting especially in a case such as the one before the court in which the party


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   The court’s threshold conclusion that New York’s Rule 4.2 did not apply in the first
instance was based on that rule’s use of “party” rather than “person.” Amgen, 2011 WL
2442047 at *10-13. Nevertheless, the court’s additional discussion of when the United
States becomes a party in a qui tam is instructive. See id. at *10-13.
23
   The court noted that New York had not adopted the model rule, but it nonetheless found
this commentary persuasive in determining the meaning of “authorized by law.” Id. at *17.

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connoted to the government that she was not represented by counsel.” Id. at 866.

Significantly, although the court noted that the contacted party told the government that

she was not represented, which could have ended the court’s analysis, the court further

discussed the application of the Rule in the context of pre-intervention contacts and

concluded they were permissible. Id. at 865. In finding no ethical violation, the court found

significant that, although the qui tam had been filed at the time of the interview, the case

remained under seal and the government had not yet intervened.24

       4. Defendants’ Authorities are Inapposite.

       Defendants’ heavy reliance on State v. Miller is misplaced. 600 N.W.2d 457 (Minn.

1999). Importantly, Miller, issued in 1999, relied on a version of Rule 4.2 that lacked

Comment [5]. See also Samie Decl., Ex. 5, Minnesota Legal Ethics, Wernz, W. (8th ed.

2019), p. 983 (“Because so many of the rule 4.2 issues that were once hotly contested have

been resolved, by amendment or case law, lawyers should not cite older authorities,

especially those before 2005, except with great caution.”) (emphasis in original). An

analysis of Miller today should begin with the updated comment.25


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   Although United States v. Talao, a case cited by Defendants, involved prosecutor’s pre-
intervention, pre-indictment communication with an employee of a represented
organization, the case is not relevant here because the Ninth Circuit did not address the
authorized by law exception. 222 F.3d 1133, 1139 (9th Cir. 2000). Defendants cite the case
for the proposition that Rule 4.2 applies after a qui tam complaint is filed, which is not the
ultimate question here. Rather, the issue remains whether the communications were
authorized by law. Ultimately, the Talao court found that an AUSA did not violate
California’s version of the no-contact rule in talking with an employee of a represented
organization because the employee represented that the defendant sought to suborn perjury
or obstruct justice. Id.
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   The Court should disregard the Charles Lundberg opinion Defendants offer on the
ultimate question before the Court. Legal conclusions are for the court to make and not a

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       Magistrate Judge Katherine M. Menendez recently discussed Miller’s questionable

applicability to cases in federal court. United States v. Flynn, Case No. 0:16-cr-00347-

ADM-KMM, ECF No. 62 at 20 (August 11, 2017), R&R adopted, 2017 WL 5462184 (D.

Minn. Nov. 14, 2017). In Flynn, the defendant relied on Miller and MRPC 4.2 when

moving to suppress statements that he made to a federal agent during a lawful search of his

residence because the agent “was unfamiliar with Minnesota’s Rule of Professional

Conduct 4.2.” Judge Menendez concluded that “Miller does not represent the controlling

law in this Court.” Id. Citing Dobbs and Fitterer, Judge Menendez held that both federal

precedents make clear that “the no-contact rule does not require suppression in federal

proceedings whenever a government investigator communicates with a suspect who has

previously retained counsel.” Id. “The Eighth Circuit has reiterated this conclusion in the

years after deciding Fitterer and Dobbs.” Id. (citing Plumley, 207 F.3d at 1095).26

       Magistrate Judge Steven Rau has similarly noted that “the interpretation of state


proper basis of expert opinion. Peterson v. City of Plymouth, 60 F.3d 469, 475 (8th Cir.
1995). “Each courtroom comes equipped with a ‘legal expert,’ called a judge.” Burkhart v.
Washington Metro. Area Transit Auth., 112 F.3d 1207, 1213 (D.C. Cir. 1997). Moreover,
the opinion is faulty in several respects. First, it ignores MRPC Rule 4.2 Comment [5]
entirely. Second, it presumes that civil enforcement proceedings commence when a relator
files a sealed qui tam, without analyzing the FCA, which imposes on the United States a
statutory duty to investigate allegations of government fraud while the case is under seal.
Third, it relies heavily on State v. Miller, which is not controlling authority.
26
    Although this Court has adopted the MRPC, the Minnesota Supreme Court’s
interpretation and application is not binding or authoritative. See L.R. 83.6, 1991 Advisory
Committee Note (“While discipline imposed by a state ‘brings title deeds of high respect,’
it is not conclusively binding on federal courts, which in substance, must satisfy themselves
that the attorney’s underlying conduct warranted the discipline imposed.”) (quoting Theard
v. United States, 354 U.S. 278, 282 (1957)). Contrary to Defendants’ representation,
enforcement is a matter for this Court alone to decide under federal law, within the unique
context of parallel civil and criminal investigations.

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disciplinary rules as they apply to federal criminal law practice is a matter of federal law.”

United States v. Voigt, No. 13-CR-35 (PJS/SER), 2015 WL 13731338, at *4 (D. Minn. Nov.

24, 2015), R&R adopted, 2015 WL 9581740 (D. Minn. Dec. 30, 2015) (internal quotations

omitted).

       Even so, Miller ultimately supports the government’s position that investigative

contacts with represented persons are authorized by law. Miller, 600 N.W.2d at 467. As the

court in Miller recognized, “[L]egitimate investigative processes may go forward without

violating MRPC 4.2 even when the target of the investigation is represented by counsel.”

Miller carved out a situation where conduct was so egregious that it “impair[ed] the fair

administration of justice.” Id. There, law enforcement questioned a defendant while

blocking his attorney from accessing his client. Id. The court found this to be a serious

ethical violation, and it suppressed the portion of the statement taken by law enforcement

agents after the attorney asked that it be terminated. Id.

       Here, Defendants cannot establish any wrongful conduct, let alone egregious

behavior. Defendants challenge a confidential informant’s pre-enforcement covert

consensual recordings, a commonly used investigative technique approved by the Eighth

Circuit. The questioning did not seek to obtain privileged information. In fact, the FBI

agent carefully admonished the informant to avoid eliciting such information.

       Contrary to Defendants’ suggestion, the Government was not required to seek

permission from the Court to conduct covert operations. The Government’s independent

obligation to investigate comes directly from the FCA, 31 U.S.C. § 3730(a), and is distinct

from this Court’s oversight of the sealed qui tam. “The statute does not in any way create


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a judicially-supervised discovery process that begins prior to the government's decision

about whether to join the case as a party plaintiff. Thus, to the extent that the court does

anything at all while a relator's complaint remains under seal, one thing it assuredly does

not do is supervise the government’s investigation” In re Amgen Inc., 2011 WL 2442047,

at *4.

         No attorney-client privileged material was disclosed. The AUSAs handling the civil

case did not even possess, let alone listen to the recordings, in making the government’s

intervention decision or in drafting the Complaint. In short, Defendants cannot meet the

high standard in Miller.

         Defendants’ other authorities are also inapposite. In United States ex rel. O’Keefe v.

McDonnell Douglas Corp., the Eighth Circuit struck, as ultra vires, a now-abrogated

Department of Justice regulation addressing governmental contacts with represented

persons. 132 F.3d 1252, 1257-1258 (8th Cir. 1998). The contacts challenged in O’Keefe

occurred post-intervention and were ongoing when Defendant filed a motion for a

protective order. Id. at 1253. The government’s arguments centered on the validity of the

DOJ regulation. Id. at 1254. The Eighth Circuit’s holding that the Attorney General lacked

authority to promulgate the regulation negated the government’s arguments. As such,

contrary to Defendants’ representation, O’Keefe did not broadly address whether pre-

intervention contacts are authorized by law within the meaning of Missouri’s no contact

rule. Id. Defendants’ interpretation of this case as a categorical preclusion of investigative

contact after filing of a qui tam complaint is inaccurate.




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       Midwest Motor Sports v. Arctic Cat Sales, Inc. is also inapposite, because it involved

private parties, not the government’s authorized investigative activities. 347 F.3d 693 (8th

Cir. 2003). It does not discuss the authorized by law exception or MRPC 4.2 Comment [5],

which governs government investigations before the commencement of law enforcement

proceedings, or cases arising under the FCA. Id.

       In sum, the authority above makes clear that pre-intervention contacts in an FCA

case are investigative activity authorized by law under MRPC 4.2. All but one of the

recordings in this case occurred over two years before the government intervened, and the

final recording within seven months before intervention. As a result, this Court should

conclude that the United States’ pre-intervention investigative contacts were authorized by

law and permissible under MRPC 4.2.

C.     The Remedies Defendants Seek Are Unwarranted.

       The United States was authorized by law to make the contacts at issue here. They

did so consistent with the ethical rule, with care to avoid seeking any privileged

information, and in good faith. The record does support any sanction, and the motion

should be denied.

       Defendants seek extraordinary remedies by generally invoking this Court’s inherent

authority to supervise and regulate attorney conduct in its own cases. E.g., In re Snyder, 472

U.S. 634 (1985). The Court’s role in the remedies context, is not wooden, as Defendants

argue. Defs.’ Mem. at 28, ECF No. 290 (citing Central Milk Producers Coop. v. Sentry

Food Stores, Inc., 573 F.2d 988, 992-93 (8th Cir. 1978)). Rather, the weight of authority

calls for the careful evaluation and balancing of factors such as (1) whether Defendants

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have shown that the alleged violations of the Rules of Professional Conduct occurred (as

discussed above, they have not) (2) whether there was any prejudice in the litigation, and

(3) whether the remedies they seek are warranted in light of the severity of the proven

violation. See Central Milk, 573 F.2d at 992 (denying disqualification). The application of

these factors does not support Defendants’ requested relief.

       1. Defendants Have not Suffered any Harm.

       Aside from describing one segment of one recording, Defendants create no record

for the Court to assess harm. Rather, Defendants’ request to actually use the very

recordings they challenge here turns their motion on its head and suggests their assessment

that they may benefit from the recordings. Defendants acknowledge, of course, that

prejudice or taint must be shown before any remedy is appropriate. E.g., Defs.’ Mem., ECF

No. 290 at 29 (“Dismissal of a case is warranted where abuses of known rules are so

pervasive that it infects the fairness of the proceedings.”); see also, id. at 30, 31, 32. They

do not follow through, however, to show the Court what prejudice resulted, how it taints

the proceedings, and what exactly are the “fruits” of the alleged violations.

       The United States does not agree with Defendants’ description of the June 5, 2014

recording; the transcript speaks for itself. See Huyser Decl., Ex. 12, ECF No. 294-4. As

noted by Special Agent Herrett, the FBI did not script the recorded conversations. Herrett

Decl. ¶ 8. The FBI expressly admonished Fesenmaier not to interfere with any attorney-

client relationship. Id. ¶ 6. The conversation, which appears to be aimed at the status of the

FBI’s investigation and SightPath’s alleged wrongdoing, does not disclose any attorney-

client communication or even any factual information about Precision Lens’ involvement


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in the kickback scheme. In fact, during the conversation Ehlen expressly denies any

involvement. Fesenmaier’s own in-the-moment conclusion that he received “interesting

tidbits” does not establish that there was any confidential information sought or disclosed,

or that information conveyed in this conversation has been used by the United States to the

detriment of Precision Lens.

       The United States conducted a broad-ranging investigation of which these

recordings were a miniscule part. The civil AUSA did not obtain the recordings until after

it intervened in the case, and he collected them to evaluate them for responsiveness to

Defendants’ discovery requests. Blumenfield Decl. ¶ 18. Nor did he provide them to

relator’s counsel until discovery in this case. Id. ¶¶ 19, 21. The United States did not use

the recordings in its decision to intervene or its Complaint filed in this matter. Id. ¶ 20.

       2. Dismissal is Unwarranted.

       Dismissal is an inappropriate sanction disproportionate even to the alleged ethical

violations presented in Defendants’ motion, let alone to the reality that the communications

were authorized by law. The incompatibility of this remedy is evident on a reading of the

two authorities from this district to consider attorney disqualification, both of which

Defendants cite at the outset of their remedy argument. See Gifford v. Target Corp., 723 F.

Supp. 2d 1110, 1122-23 (D. Minn. 2010) (declining to dismiss case based on solicitation

and receipt of attorney-client privileged information by plaintiff’s counsel where defendant

could not identify any portion of the operative complaint tainted with privileged

information); see also Arnold v. Cargill, Inc., No. 01-2086 (DWF/AJB), 2004 WL

2203410, at *13-14 (D. Minn. Sept. 24, 2004) (denying motion to dismiss based on receipt


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of privileged material by plaintiff’s counsel).

       Defendants’ other cases, likewise, do not support dismissal. In United States ex rel.

Bibby v. Wells Fargo Home Mortg., Inc., the court found that a relator’s disclosure of the

case to the news media in violation of the seal did not warrant dismissal. 76 F. Supp. 3d

1399, 1411 (N.D. Ga. 2015). In discussing the seal violation, the Bibby court begins by

collecting five other district court decisions rejecting dismissal as a remedy. See id. at 1407.

The court then rejected the defendants’ argument for a per se rule that a seal violation

mandates dismissal—adopted by only one circuit court of appeals—and instead held that

facts and context should be considered and rejected defendants’ motion to dismiss. Id. at

1407-14. “Dismissal of a case with prejudice is considered a sanction of last resort,

applicable only in extreme circumstances.” Id. (quoting Zocaras v. Castro, 465 F.3d 479,

483 (11th Cir. 2006)).

       United States ex rel. Berglund v. Boeing Co. is the only civil case Defendants cite

where the court dismissed the complaint due to a party’s misconduct. 835 F. Supp. 2d 1020

(D. Or. 2011). There, in a spoliation case involving truly extraordinary facts, the relator

“destroyed, altered, and lied about evidence,” defied a court order that he produce a hard

drive for inspection, and had knowledge the evidence was relevant to the case. Id. at 1053.

The court found Boeing was prejudiced by this intentional and deliberate misconduct. Id.27


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   Defendants cite several criminal cases, some of which implicate the Sixth Amendment,
and involve egregious facts. United States v. Stein, 541 F.3d 130, 157 (2d Cir. 2008)
(affirming dismissal of criminal indictment because the government actively interfered
with advancement of legal fees by defendants’ former employer); United States v. Twigg,
588 F.2d 373, 381 (3d Cir. 1978) (reversing a conviction where government “implanted the
criminal design” in his mind, “set him up, encouraged him, [and] provided the essential

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       Even if Defendants’ arguments about misconduct in this case had a sound factual

basis, which they do not, the conduct would not rise to the level of willfulness and bad faith

that the district court found in Berglund. As discussed in detail above, Defendants’ motion

is limited to 13 recordings after the qui tam’s filing, only one of which Defendants

highlight. Defendants’ argument that “the government maintained a sealed investigation

for years so that it could repeatedly employ Relator in the filed qui tam action to secretly

obtain and record statements” is without any factual support. Defs.’ Mem., ECF No. 290 at

29. In the two years immediately preceding intervention, Fesenmaier made only one

recording. Defendants present none of the prejudice found in Berglund. See id. at 1054.

The notion that the case should be dismissed because of a single recording that was not

intended to, and did not, seek any protected information is without basis in law.

       3. Defendants’ Motion Falls Well Short of the Line for Disqualification.

       Motions to disqualify counsel should be subjected to “strict scrutiny” because of the

potential for the opposing party to abuse them. Macheca Transp. Co. v. Phil. Indem. Co.,

463 F.3d 827, 833 (8th Cir. 2006) (district court abused its discretion in granting a motion

to disqualify). These motions are viewed with skepticism because of their potential to be

used to gain a strategic advantage rather than purely to protect the integrity of the adversary

process. Olson v. Snap Prods., Inc., 183 F.R.D. 539, 542 (D. Minn. 1998); In re Corp. Res.


supplies and technical expertise . . . .”); United States v. Orozco, 291 F. Supp. 3d 1267 (D.
Kan. 2017), rev’d by 916 F.3d 919, 925 (10th Cir. 2019) (“[T]he district court could have
pursued a more tailored and less drastic remedy [than dismissing the indictment]” that
“would not have infringed unnecessarily on the government’s interest in prosecuting
criminal behavior.”).


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Servs., Inc., 595 B.R. 434, 441 (S.D.N.Y. 2019); Ambush v. Engelberg, 282 F. Supp. 3d 58,

61-62 (D.D.C. 2017); E.E.O.C. v. Hora, Inc., 239 F. App'x 728, 731 (3d Cir. 2007).

Defendants bear the high burden of proving that disqualification is warranted, and only

“legitimate” doubts should be resolved in favor of disqualification. Olson, 183 F.R.D. at

542 (denying motion to disqualify).

       Because Defendants do not show that the United States violated Rule 4.2,28 or that

any privileged material was sought or disclosed, the cases they cite for disqualification are

inapposite. For example, in Gifford, 723 F. Supp. 2d at 1122–23, (Defs.’ Mem., ECF No.

290 at 29), the Court reviewed a motion for disqualification and granted it only upon a

showing that the alleged contact elicited privileged material, that such material was not

immediately segregated, and that access to that material tainted the proceedings. Likewise,

in Arnold, 2004 WL 2203410, Judge Frank found the litigation was tainted when a firm

retained hundreds of documents marked privileged and confidential, a witness threw out

those documents in advance of a subpoena, possibly at the attorney’s instruction, and where

the attorney made no apparent effort to advise a former employee not to disclose privileged

material.

       Here, the United States admonished Fesenmaier to avoid eliciting attorney-client

privilege. Defendants have not clawed back any attorney-client privileged material that

they believe was disclosed during any of the recordings. Blumenfield Decl. ¶ 24. And the


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   Defendants cite United States v. Agosto, 675 F.2d 965, 969 (8th Cir.1982), which
affirmed disqualification of criminal counsel to avoid conflicts of interest that could later
result in Sixth Amendment claims for ineffective assistance of counsel. This civil litigation
raises no similar constitutional concerns.

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attorneys representing the United States did not even obtain the recordings until discovery,

and did not use them in their intervention decision or the Complaint. Id. ¶ 20. Cf. In re

Potash Antitrust Litig., Civ. No. 3–93–197, 1993 WL 543013, at *16 (D. Minn. Dec. 8,

1993), amended 1994 WL 2255 (D. Minn. Jan. 4, 1994) (disqualifying attorneys and

dismissing complaint where there was undisputed evidence that complaint contained

certain factual allegations that could not have made been absent improper disclosure of

confidential information to attorneys); see also CarboMedics, Inc. v. ATS Med., Inc., No.

06-CV-4601 PJS/JJG, 2008 WL 5500760, at *5-7 (D. Minn. Apr. 16, 2008) (“Given that

no prohibited information was disclosed, the Court finds that, on balance, the extreme

remedy of attorney disqualification is unwarranted.”); In re Wirebound Boxes Antitrust

Litigation, 724 F. Supp. 648 (D. Minn. 1989) (balancing public interest against alleged

violations of professional conduct and denying motion to disqualify).

       4. The Court Should Reject Defendants’ Request for Suppression and Walling Off
          Sources.

       Defendants’ arguments regarding suppression are circular, confusing, and only serve

to highlight that the remedies they seek do not fit the facts of this case. Their argument for

quasi-suppression is, perhaps, the best example. Defendants do not actually want to

suppress the recordings, hoping instead to use helpful information in their case. Defs.’

Mem., ECF No. 290 at 32. On the other hand, the AUSAs on the case did not use the

recordings and did not obtain them until discovery in the civil case. The United States’

complaint was based on voluminous evidence it gathered during its multi-year

investigation, and not from the content of the recorded conversations. Defendants cannot



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satisfy their considerable burden to justify suppressing the recordings on this record, and

do not reckon with the application of the cases under these facts where the recordings were

generated during a pre-enforcement government investigation and authorized by law.

      Suppression was requested, and rejected, in many of the same cases discussing Rule

4.2 as applied in government investigations. In Fitterer, the Eighth Circuit rejected

suppression, reasoning that “the investigators’ conduct was ‘authorized . . . by law’ within

the meaning of Rule 4.2, and, even if it was not, the investigators’ conduct was not

sufficiently egregious to warrant suppression.” 710 F.2d at 1333 (internal citations

omitted). The Binder court observed, “Research shows that no court has ever suppressed

evidence in a criminal case because a prosecutor violated Rule 4.2 in the course of an

investigation before the grand jury indicted the defendant.” 167 F. Supp. 2d at 866. See

also Hammad, 858 F.2d at 842 (denying request to suppress because “the government

should not have its case prejudiced by suppression of its evidence when the law was

previously unsettled in this area”).

      Even in State v. Miller, on which the Defendants rely so heavily, the court only

suppressed only the portion of the recording that was conducted after the investigators

continued their interview over the company counsel’s objection. 600 N.W.2d at 468. The

Minnesota Supreme Court fashioned this targeted remedy in the face of conduct it

characterized as “sufficiently egregious to implicate concerns relating to the fair

administration of justice.” Id. See also Midwest Motor Sports, 374 F.3d at 698

(suppressing evidence derived from attorneys’ willful collection of evidence using

methods the court found contrary to the rules of professional conduct).


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       Defendants’ attempt to stretch these holdings by calling to “wall off” the United

States’ access to lawfully obtained recordings and to then wall off witnesses involved in

these recordings. Defendants cite no authority that would prevent government lawyers

from relying on important witnesses based on recordings they had prepared in the course

of a lawful government investigation. Although the Eighth Circuit in EZ Paintr Corp. v.

Padco, Inc., limited passing work product onto a new firm after disqualification, the court

did not go so far as to restrict access to the witnesses who held the information. 746 F.2d

1459, 1463 (Fed. Cir. 1984). The United States’ substantial interest in the enforcement of

criminal and civil laws must outweigh Defendants’ requests for sanctions. Lowery, 166

F.3d 1119, 1124–25 (denying suppression). See also Hammad, 858 F.2d at 842.

       The record reflects that the United States’ actions did not violate Rule 4.2, and no

sanction is warranted.




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                                    CONCLUSION

      The United States acted in good faith. Its pre-enforcement investigative contacts

were authorized by law under MRPC 4.2. The USAO consulted with its ethics officials.

Special Agent Herrett instructed Fesenmaier not to elicit privileged communications.

Neither Relator’s counsel nor United States’ counsel obtained the recordings during the

investigation, and only obtained them in discovery. Nothing in the record before the Court

supports wrongdoing by the United States. The United States respectfully requests that

Defendants’ motion be denied.



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